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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO



 UNITED STATES OF AMERICA,

        Plaintiff,

 v.
                                                           No. 1:14-cr-02563-PJK-1
 MELVIN RUSSELL,

        Defendant.




                ORDER ON DEFENDANT’S MOTIONS IN LIMINE



       THIS MATTER came on for consideration of Defendant Melvin Russell’s

pending Opposed Motions in Limine filed April 16, 2018. Given the pendency of trial

and the straightforward nature of the issues, the court will rule based upon the motions

and responses; replies are unnecessary. Upon consideration thereof,

       (1) Defendant’s Motion in Limine to Prohibit Reference to Rule 413 Evidence

Prior to Determination as to Admissibility filed April 16, 2018, (ECF No 198) should be

denied. The court previously ruled that “the government may introduce evidence of Mr.

Russell’s prior conviction for aggravated sexual abuse by force or threat” after

considering Rule 413 and Rule 403. ECF No. 183, at 2. Nothing contained in the instant

motion persuades the court that the ruling is incorrect.

       (2) Defendant’s Motion in Limine to Exclude Misleading and Incomplete
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Government’s Proposed Exhibit 27 filed April 16, 2018, (ECF No. 199) should be

denied. Exhibit 27 is a five-minute video excerpt of a longer interview with Mr. Russell

and three FBI agents. The agents are not visible in the tape, but their voices can be

clearly heard.

       Mr. Russell argues that the government has omitted “key portions that explain the

statements in Proposed Exhibit 27,” ECF No. 199, at 5, and so the exhibit is misleading

under Fed. R. Evid. 106. Rule 106 provides that when a party introduces part of a

“recorded statement, an adverse party may require the introduction, at that time, of any

other part . . . that in fairness ought to be considered at the same time.” Rule 106 is

generally one of inclusion, but Mr. Russell is not requesting the entire interview to be

admitted into evidence. This court previously admonished the parties to “refrain from

asking any question, introducing any evidence, or making any statement or argument

that, either directly or indirectly, mentions the term ‘polygraph’ or its synonyms, or

suggests that such an exam occurred.” ECF No. 181, at 4. Though agreeing with this

ruling, Mr. Russell argues that it is impossible to both have a complete interview and

refrain from mentioning the polygraph because “the Government’s agents chose to

conduct an interrogation in such a manner that the portions necessary to explain and

contextualize the small segment offered by the Government necessarily include overt and

implicit references to the polygraph examination.” ECF No. 199, at 6.

       Mr. Russell’s argument is that the excerpt implies that he immediately recollected

committing a crime and misleads the jury into believing that the admission was not
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coerced. The court previously denied a motion to suppress the confession after

concluding that the government had met its burden of showing voluntariness by a

preponderance of the evidence. See ECF No. 103, at 14. In reality, Mr. Russell is asking

this court to exclude the evidence on the grounds that it would be unfair to require him to

choose completeness at the risk of inserting the polygraph exam into the trial. Exclusion

of evidence is generally governed by Fed. R. Evid. 403’s balancing test: “The court may

exclude relevant evidence if its probative value is substantially outweighed by a danger

of one or more of the following: unfair prejudice, confusing the issues, misleading the

jury, undue delay, wasting time, or needlessly presenting cumulative evidence.” See

United States v. Lopez-Medina, 596 F.3d 716, 736 (10th Cir. 2010) (“The rule of

completeness connects with Rule 403 of the Rules of Evidence.”).

       The video excerpt is relevant and highly probative, and its probative value is not

substantially outweighed by a danger of unfair prejudice or misleading the jury.

Admittedly, the video only shows Mr. Russell and not the agents (only their voices can

be heard). However, the questions being asked and Mr. Russell’s answers are clear. The

video includes an admission by Mr. Russell concerning the offense charged. (FBI Agent:

“Did you rape [Jane Doe]?”; Mr. Russell: “Yes.”) The court is not persuaded that Mr.

Russell faces an untenable choice that requires exclusion.

       (3) Defendant’s Motion in Limine to Exclude Government’s Proposed Exhibit 27

as Impermissible Hearsay filed April 16, 2018, (ECF No. 200) should be denied.

Hearsay is defined as a statement that “the declarant does not make while testifying at the
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current trial or hearing” and “a party offers in evidence to prove the truth of the matter

asserted in the statement.” Fed. R. Evid. 801. Again, Exhibit 27 is a five-minute video

excerpt of an interview of Mr. Russell by three FBI agents. Mr. Russell argues that

during the video, one of the agents, Agent Sullivan, repeated statements from other

witnesses and that Agent Sullivan made “direct accusatory statements,” ECF No. 200, at

2, to Mr. Russell.

         The government correctly argues that Agent Sullivan’s statements are not hearsay.

The statements are offered to show their effect on the listener (Mr. Russell), not for the

truth of the matter asserted. See United States v. Farley, 992 F.2d 1122, 1125 (10th Cir.

1993). Agent Sullivan’s statements contextualize Mr. Russell’s answers. See United

States v. Gajo, 290 F.3d 922, 930 (7th Cir.2002) (“[S]tatements are not hearsay to the

extent they are offered for context and not for the truth of the matter asserted.”).

         Mr. Russell also briefly argues that his Confrontation Clause rights are being

violated because he will not have a chance to cross-examine Agent Sullivan. However,

because the statements are not offered for the truth of the matter asserted, they do not

raise Confrontation Clause issues. United States v. Pablo, 696 F.3d 1280, 1287 (10th Cir.

2012).

         (4) Defendant’s Motion in Limine to Preclude Government from Placing Exhibit 9

in View of the Jury Prior to a Determination as to Admissibility filed April 16, 2018,

(ECF No. 201) should be denied as moot. The government has responded (ECF No. 207)


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that it will “not display exhibit 9 to the jury prior to presenting it to the witness who will

testify as to the foundation for its admission.”

       (5) Defendant’s Motion in Limine to Preclude Government from Presenting to the

Jury an Argument or Implication That Any Sexual Acts Not Specified in the Charging

Document May Be a Basis for a Guilty Verdict filed April 16, 2018, (ECF No. 202)

should be denied as moot. The government has responded (ECF No. 206) that it “does

not intend to argue unindicted contact fulfills the element of a sexual act.” The

government does intend to argue that “Defendant’s sexual aggressiveness the evening of

the rape is consistent with his subsequent contact.” Of course, the parties are free to

object at trial as evidence is proffered.

       NOW, THEREFORE, IT IS SO ORDERED that:

       (1) Defendant’s Motion in Limine to Prohibit Reference to Rule 413 Evidence

Prior to Determination as to Admissibility filed April 16, 2018, (ECF No. 198) is denied.

       (2) Defendant’s Motion in Limine to Exclude Misleading and Incomplete

Government’s Proposed Exhibit 27 filed April 16, 2018, (ECF No. 199) is denied.

       (3) Defendant’s Motion in Limine to Exclude Government’s Proposed Exhibit 27

as Impermissible Hearsay filed April 16, 2018, (ECF No. 200) is denied.

       (4) Defendant’s Motion in Limine to Preclude Government from Placing Exhibit 9

in View of the Jury Prior to a Determination as to Admissibility filed April 16, 2018,

(ECF No. 201) is denied as moot.


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      (5) Defendant’s Motion in Limine to Preclude Government from Presenting to the

Jury an Argument or Implication That Any Sexual Acts Not Specified in the Charging

Document May Be a Basis for a Guilty Verdict filed April 16, 2018, (ECF No. 202) is

denied as moot.

      DATED this 26th day of April 2018 at Santa Fe, New Mexico.

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                                               United States Circuit Judge
                                               Sitting by Designation




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